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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION


UNITED STATES OF AMERICA


vs.                                                 2:06-cr-121-FtM-99DNF


HOWARD HENRY
SHEILA W. HENRY

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                                   ORDER

      This   matter    comes    before     the    Court    on   Report       and

Recommendation    (Doc.   #221),   filed   on    January   8,   2008,   as   to

restitution by Howard Henry, Sheila Henry and Quitin Henry.                  The

Court previously entered an Order (Doc. #231) as to Quitin Henry.

No objections have been filed to the Report and Recommendation, and

the time to file objections has expired.

      Accordingly, it is now

      ORDERED:

      1.   The Report and Recommendation (Doc. #221) is accepted and

adopted as to defendants Howard Henry and Sheila Henry.

      2.   The Clerk of the Court shall enter an amended judgment as

to Howard Henry imposing restitution jointly and severally with

Quitin Henry and Sheila Henry in the amount of $4,971.22 in favor

of Norma Handley and $596.00 in favor of Armando Garcia and Dulce

M. Consul-Garcia.
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      3.   The Clerk of the Court shall enter an amended judgment as

to Sheila Henry imposing restitution jointly and severally with

Quitin Henry and Howard Henry in the amount of $4,971.22 in favor

of Norma Handley and $596.00 in favor of Armando Garcia and Dulce

M. Consul-Garcia.

      DONE AND ORDERED at Fort Myers, Florida, this           6th    day of

February, 2008.




Copies:
Counsel of Record
U.S. Probation
DCCD




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